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FII.ED Br' gin D.f... ' F;LED BY M.C.

IN THE UNITED STATES DISTRICT COURT

95 JUNFUR FMI§=\%ESTERN DISTRICT oF TENNESSEE WESTERN 1115/mm PH 2= 32

 

 

 

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W.D. O:~- TN, E‘.*€EMPF~HS W‘D~ OF TN_ MEMpH;S §

Plaintiff, Pro Se,

v. No. 03-2650 D/P

sHELBY CoUNTY GovERNMENT,
CoRRECTIoNAL MEDICAL sERvICEs, rNc.,
orHER UNKNoWN DEFENDANTS, MOT|ON GRANTED
sHERIFF MARK LUTTREL, , mm , , - if
CoNTRACToR FoR PEST coNTRoL,
UNKNOWN HEALTHCARE PRovIDERs,

      
 
   

UNKNOWN PRISON STAFF, _ ERNICE BOU|E DONALD
UNK_NOWN DEFENDANTS, U.S. DlSTR|CT JUDGE
Defendants.

 

MOTION TO SUBSTITUTE COUNSEL OF RECOR_D

 

Cornes now the defendant, Correctional Medical Services, Inc., by and through counsel
of record, and files this Motion requesting an order from this court substituting Katherine M.
Anderson, Esq. of The I-lardison Law Firrn as counsel of record for Correctional Medical
Services, lnc. in place of Gregory A. Ziskind, Esq., who is no longer employed by The Hardison
Law Firm. Counsel has conferred With counsel for the plaintiff and Shelby County and neither
attorney has an objection to this motion.

WHEREFORE, PRMISES CONSIDERED, Jerry O. Potter moves the court for an order
substituting Katherine M. Anderson of The Ha:rdison Law Firm as counsel of record for
Correctional Medical Services, lnc. in the place of Gregory A. Ziskind. Jerry O. Potter further
moves the court for an order removing Greg A. Ziskind from any further duties or obligations

towards Correctional Medical Services, lnc. in this matter.

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with Ru|e 58 and/or 79 (a) FRCP on " '

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Respectfully submitted,

 

    

meys for Defendant, CMS
119 South Main Street, Suite 300
Mernphis, Tennessce 38103
(901) 525-8776

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the Motion to Substitute
counsel has been served Via U. S. Mail, postage prepaid, upon:

Debbie Fessenden
Assistant County Attorney
Shelby County Attorney
160 North Main Street
Memphis TN 38103

Mr. Randall B. Tolley

Attorney

The Law Office of Randall B. Tolley
242 Poplar Avenue

Memphis Tennessee 38103

this 25% dayof qwm ,2005.

CMA&&\

 

UNITED sTTEASD"STIC COUR - WESRNTE D"'TRCT 0 TESSEE

        

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 88 in
case 2:03-CV-02650 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

